        Case 1:19-cv-01682-DDD-JPM Document 4 Filed 01/07/20 Page 1 of 4 PageID #: 13
 AO 440 (Rev. 06/12) Summons in a Civil Action


                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                     ALEXANDRIA DIVISION



                JACINTA R WALKER         )
                          Plaintiff      )
                       v.                ) Civil Action No. 1:19−CV−01682−DDD−JPM
                                         ) Judge Dee D Drell
               CONCORDIA CAPITAL         )
                    Defendant            )
                              SUMMONS IN A CIVIL ACTION

To:
Concordia Capital




        A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in
Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff's attorney, whose name and address are:
                                        Jacinta R Walker
                                        4226 Hwy 84 W Apt 7
                                        Vidalia, LA 71373

      If you fail to do so, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   1/7/2020                                                                   /s/ − Tony R. Moore
         Case 1:19-cv-01682-DDD-JPM Document 4 Filed 01/07/20 Page 2 of 4 PageID #: 14
   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                     1:19−CV−01682−DDD−JPM
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Concordia Capital was received by me on (date)______________________________.


              • I personally served the summons on Concordia Capital at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law
                to accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):

       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
      Case 1:19-cv-01682-DDD-JPM Document 4 Filed 01/07/20 Page 3 of 4 PageID #: 15

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                         TONY R. MOORE
                                                         Clerk of Court




NOTE: This court has an internet web site at www.lawd.uscourts.gov where you can obtain our Guide To Practice
and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
          Case 1:19-cv-01682-DDD-JPM Document 4 Filed 01/07/20 Page 4 of 4 PageID #: 16

                                      UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF LOUISIANA
                                                   300 Fannin Street, Suite 1167
                                                   Shreveport, Louisiana 71101
                                                         318−676−4273

Dear Pro Se Litigant:

       Welcome to federal court! Your civil action has been filed, assigned a case number and allotted to a judge and
magistrate judge as noted. Please be advised that it is your responsibility to give notice of the filing of this complaint to the
defendants either by service of a summons or a request for waiver of service as provided in Rule 4 of the Federal Rules of
Civil Procedure.

       To assist you, our court staff has prepared a few brief tips on the topics of service and waiver of summons. These tips
are merely provided to aid and assist you and are, by no means, a definitive statement of the law. We recommend that you
consult the Federal Rules of Civil Procedure and the Uniform Local Rules for the United States District Courts for the Eastern,
Middle and Western Districts of Louisiana ("Local Rules").

       Service of Summons: The Clerk of Court may electronically prepare your summons for you. A summons shall identify
the court and the parties, be directed to the defendant, and state the name and address of the plaintiff's attorney, or if
unrepresented, of the plaintiff. See Fed.R.Civ.P. 4(a). The plaintiff is responsible for having service of the summons and a
copy of the complaint made upon each defendant and shall furnish the person effecting service with the necessary copies of
the summons and complaint. See Fed.R.Civ.P. 4(c)(1). Plaintiff should pay particular note that on suits against the United
States and its agencies, corporations, officers, or employees, summonses should be prepared for and a copy of the complaint
delivered to:

     1. the United States attorney for the district where the action is brought or to an assistant United States attorney or
        clerical employee whom the United States attorney designates in writing filed with the court clerk by a person 18
        years of age or older and not a party to the suit OR by registered or certified mail;
     2. the Attorney General of the United States at Washington, D.C by registered or certified mail;
     3. the agency, corporation, officer or employee (if named in the suit) by registered or certified mail. See Rule 4(i) of the
        Federal Rules of Civil Procedure.

       Waiver of Service of Summons: Rule 4(d) of the Federal Rules of Civil Procedure also allows the plaintiff to
reduce the costs of service by notifying the defendant of the filing of the action and requesting that the defendant waive
service of a summons. A defendant who, after being notified of an action and asked to waive service of process, fails to do so,
will be required to bear the cost of such service unless good cause be shown for failure to sign and return the waiver. A party
who waives service of process retains all defenses and objections (except any relating to service thereof).

        Dismissal: A case may be dismissed by the Clerk of Court or any judge under LR41.3 where no service of process has
been made within 90 days after filing of the complaint or where no responsive pleadings have been filed or default has been
entered within 60 days after service of process. Prior to the issuance of a dismissal, notice shall be sent to the plaintiff and the
plaintiff shall then be allowed 14 calendar days from the mailing of the notice within which to file evidence of good cause for
plaintiff's failure to act. If the clerk does not receive a response within the allotted time, the case may be dismissed.

       It is our sincere hope that this information on service of summons, waiver of service and dismissal will assist you.
Enclosed for your use are completed summons(es) for your case. Should you wish to utilize the waiver of service, you may
find the form at www.uscourts.gov/uscourts/FormsAndFees/Forms/AO399.pdf. If we can be of further assistance, please do
not hesitate to contact us.

                                                                     TONY R. MOORE
                                                                    CLERK OF COURT
